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FOR THE
WESTERN DISTRICT OF TENNESSEE

ORDER OF PRODUCTION
NO= l :Ol-cr~l 0061-02-T
USA v- Carolyn Sue Hale
AD Prosequendum
FOR= Re-Sentencing

TO: USM, Western District ofTN
Warden, SCP F ederal Medical Center,
3301 Leestown Road, Lexington, KY 40511

YOU ARE HEREBY COMMANDED to have the person of CAROLYN SUE HALE, Inmate
# 17728-076, by you restrained of his/her liberty, as it is said, by whatsoever names detained,
together With the day and cause of his being taken and detained, before the Honorable James D.
Todd, U. S. District Court Judge, for the Western Di strict of Tennessee, at the room of said Court,
in the City of J ackson, Teonessee, at 8:30 a.m. on the 114TH day of October, 2005, then and there
to do, submit to, and receive Whatsoever the said Judge shall then and there determine in that behalf;
and have you then and there this Writ; further, to hold him in federal custody until disposition of this

case and to produce him for such other appearances as this court may direct

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UNI STATES DISTRICT JUDGE

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with note 55 and!or 32(b) FRCrP on

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Notice of Distribution

This notice confirms a copy of the document docketed as number 224 in
case 1:01-CR-10061 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

Richard Leigh Grinalds

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Honorable J ames Todd
US DISTRICT COURT

